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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                                       “IN ADMIRALTY”

Thorco Projects A/S,                          §
                                              §
                       Plaintiff,             §           Case No.
                                              §
vs.                                           §
                                              §
M/V NOMADIC MILDE,                            §
IMO No. 9463554, her engines, freights,       §
apparel, appurtenances, tackle, in rem, and   §
New Nomadic Short Sea Shipping A/S,           §
in personam,                                  §
                                              §
                       Defendants.            §

                                     VERIFIED COMPLAINT

       COMES NOW, Plaintiff, Thorco Projects A/S (hereinafter “Thorco” or “Plaintiff”), by

and through its undersigned counsel, hereby files this Verified Complaint against the Defendant

M/V NOMADIC MILDE, IMO No. 9463554, her engines, freights, apparel, appurtenances,

tackle etc. in rem (hereinafter the “Vessel”) and against Defendant New Nomadic Short Sea

Shipping A/S (hereinafter “New Nomadic Short”), in personam (hereinafter           collectively

“Defendants”) and avers and pleads as follows:

                           I. JURISDICTION, VENUE AND PARTIES

       1.      This is an admiralty and maritime claim within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure. Subject matter jurisdiction of this Honorable Court is based

upon admiralty and maritime jurisdiction pursuant to 28 U.S.C. § 1333 and is brought under the

provisions of Rule B and Rule C of the Supplemental Rules for Admiralty and Maritime Claims

and Asset Forfeiture Actions (hereinafter “Supplemental Rules”).


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         2.    Venue is proper in this District Court pursuant to 28 U.S.C. §1391(b) because the

in rem Defendant M/V NOMADIC MILDE is located in the Middle District of Florida moored

at the Tampa Anchorage.

         3.    At all times material hereto, Plaintiff Thorco, was and still is a foreign business

organized under the laws of Denmark.

         4.    Defendant M/V NOMADIC MILDE was and still is an ocean-going general cargo

vessel, registered in the Marshal Islands, IMO number 9463554, call sign V7ZW7, and is now,

within the Middle District of Florida, and subject to the jurisdiction and venue of this Honorable

Court.

         5.    New Nomadic Short was and still is a foreign business that is the registered owner

of the M/V NOMADIC MILDE and organized under the laws of Norway.

                                           II. FACTS

         6.    Thorco brings this action in order to recover amounts indisputably due and owing

as a result of Defendant New Nomadic Short’s breach of the parties’ charter party agreement.

         7.    On or about March 12, 2020, New Nomadic Short and Thorco entered into a time

charter agreement for 28-30 days for use of the M/V NOMADIC MILDE. Consistent with

industry practice, the parties utilized a form charter party agreement with primary terms amended

in the Fixture Recap. See a true and correct copy attached hereto as Exhibit 1.

         8.    On or about April 22, 2020, New Nomadic Short and Thorco agreed to extend the

charter party for a minimum of four (4) and up to maximum of seven (7) months in Thorco’s

option as charterer. Id.

         9.    The charter party agreement is a maritime contract.

         10.   Pursuant to Clause 1 of the charter party, “the Owners shall . . . maintain her class


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and keep the vessel in a thoroughly efficient state in hull, machinery and equipment for and

during the service.” Id. (emphasis added).

       11.     Pursuant to Clause 18, “. . . the Charterers have a lien on the Ship for all monies

paid in advance and not earned, and any overpaid hire or excess deposit to be returned at once.”

Id. (emphasis added)

       12.     Under the terms of the charter party extension, Thorco agreed to pay charter hire

in the amount of USD 4,500 net for the first thirty-five (35) days and USD 6,400 net thereafter.

Id.

       13.     On or about May 5, 2020, the Vessel arrived in New Orleans, Louisiana to load

lead cargo.

       14.     Following cargo operations, the Vessel shifted to anchorage within the

Mississippi River and at the direction of Defendant, to undergo repairs to the cargo hatch covers.

       15.     On or about May 8, 2020, while in the Mississippi River, the Vessel dragged

anchor and collided with another vessel and a pier.

       16.     To mitigate damages, the cargo was unloaded and transshipped and the Vessel

proceeded to Tampa for repairs.

       17.     Although off-hire while the repairs were ongoing, the Vessel was still chartered to

Plaintiff Thorco.

       18.     Despite an obligation to keep Thorco informed and updated on the progress of

repairs and an estimated date by when the Vessel would return to service, Defendant failed,

neglected, and/or refused to do so.

       19.     As a result, two (2) subsequent sub-charter agreements which Thorco had entered

into cancelled their sub-charter party agreements. Thorco suffered damages and losses as a


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result of the cancelled sub-charter party agreements.

        20.     Repairs were completed on or about August 1, 2020, however Defendant Owners

did not redeliver the Vessel to New Orleans and instead has anchored the Vessel at Tampa since

on or about August 1, 2020.

        21.     On or about August 10, 2020, Defendant unilaterally terminated the charter party

agreement with Thorco and is in repudiatory breach of the contract.

        22.     Despite the obligation to immediately return all monies and hire paid, but not

earned, Defendant New Nomadic Short has failed, neglected, and/or refused to do so.

        23.     The overpaid monies, hire, and deposits which are due and owing by Defendant

New Nomadic Short as a result of the repudiatory breach is $367,972.87. This amount also

attaches as a maritime lien against the Vessel. Attached hereto is a true and correct copy of

Thorco’s Statement as Exhibit 2.

        24.     In addition, Thorco has a claim for additional damages and lost profits against

Defendant New Nomadic Short in the amount estimated to be no less than $285,000. Id.

        25.     The total quantum due and owing is no less than $652,972.87, plus applicable

interest, fees, and costs.

 III. REQUEST FOR RULE C ARREST AND ISSUANCE OF WARRANT OF ARREST

        26.     Plaintiff repeats and re-alleges paragraphs 1-25 in the above and foregoing

Verified Complaint, and for its further and additional admiralty in rem claims against the

Defendant Vessel, alleges and pleads as follows:

        27.     Pursuant to Clause 18 of the charter party agreement Charterers, Thorco, “[has][]

a lien on the Ship for all monies paid in advance and not earned, and any overpaid hire or excess

deposit to be returned at once.” See Exhibit 1.


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        28.     As a result of outstanding amounts owed to Plaintiff, Plaintiff’s claim for the

amount of $367,972.87, attaches as a maritime lien on the Vessel in favor of Plaintiff and is

enforceable against the Vessel in rem under the provision of 46 U.S.C. § 31341 et seq.

        29.     Plaintiff also seeks its applicable costs, fees, and interest in this matter. It is

common in Rule C arrest cases for the security to be set at one and a half (1.5) times of the fairly

stated claim, and therefore Plaintiff seeks an Order of Arrest of the Vessel in the amount of

$552,000.00. See Supplemental Rule E (5) (permitting substitute security up to twice the amount

of Plaintiff’s fairly stated claim to cover interest, costs, and fees, etc.).

        30.     Plaintiff seeks to enforce its maritime lien by arresting the M/V NOMADIC

MILDE within the District, pursuant to Rule C of the Supplemental Rules for Admiralty and

Maritime Claims and Asset Forfeiture Actions.

      IV. REQUEST FOR RULE B ATTACHMENT AND ISSUANCE OF WRIT OF
                MARITIME ATTACHMENT AND GARNISHMENT

        31.     Plaintiff restates and re-alleges paragraph 1 – 25 in the above foregoing Verified

Complaint.

        32.     Defendant New Nomadic Short provided an unseaworthy Vessel, was grossly

negligent in its operation of the Vessel, and is in repudiatory breach of the parties’ charter party

agreement. Furthermore, Defendant New Nomadic Short has failed, neglected, and/or refused to

remit payment to Plaintiff as summarized in the Statement of Account following Defendant’s

breach of the charter party agreement. See Exhibit 2.

        33.      Thorco’s claims against Defendant New Nomadic Short for breach of the charter

party agreement is a maritime claim.




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       34.     This is an ancillary proceeding, brought in order to obtain jurisdiction over

Defendant New Nomadic Short to obtain security for Plaintiff’s claims in aid of Plaintiff’s

London arbitration proceedings.

       35.     Interest, costs, and attorney’s fees are routinely awarded to the prevailing party

under English Law and the procedural rules of London arbitration. It is standard for interest to

be awarded to the prevailing party in the amount of 4.5% to 5.5%, compounded quarterly.

       36.     Thorco expects to recover the following amounts in arbitration from New

Nomadic Short:

               A.     Breach of Contract:                          $652,972.87


               B.     Estimated Interest for Principal Claim:      $68,227.13
                      2 years at 5.0 %, compounded quarterly

               D.     Estimated Arbitration Cost/Fees:             $200,000

                      TOTAL:                                       $921,200.00

       37.     Thorco’s total claim, plus applicable interest, costs, and fees in the aggregate

estimated to be no less than $921,200.00.

       38.     Defendant New Nomadic Short is not present or cannot be found in the Middle

District of Florida within the meaning of Rule B of the Supplemental Admiralty Rules. See Local

Rule 7.02(a). Furthermore, none of the officers of Defendant New Nomadic Short is within the

District; Defendant New Nomadic Short does not maintain offices or telephone listings in the

District. Defendant New Nomadic Short is not incorporated or registered to do business in the

State of Florida; and Defendant New Nomadic Short does not have a registered agent for the

receipt of service of process in the State of Florida. A copy of the Attorney Declaration is

attached hereto as Exhibit 3.


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       39.        The M/V NOMADIC MILDE is the property of Defendant New Nomadic Short

and is located within the District and subject to attachment and garnishment pursuant to Rule B.

       WHEREFORE PREMISES CONSIDERED, Plaintiff Thorco prays as follows:

       A.         That Process in due form of law, according to the practice of this Honorable Court

in matters of admiralty and maritime jurisdiction, be issued against Defendants, and Defendants

be cited to appear and answer the allegations of this Verified Complaint;

       B.         That this Honorable Court enter an order of in rem arrest for M/V NOMADIC

MILDE pursuant to Rule C of the Supplemental Rules to enforce Plaintiff’s maritime lien and

that the Vessel be seized by the U.S. Marshal to be held as security against any judgment to be

entered herein;

       C.         That if Defendant New Nomadic Short cannot be found within the District, then

all of their respective property within this District, tangible or intangible, including but not

limited to M/V NOMADIC MILDE, owed by or in the hands or control of persons named as

garnishees in the Process of Maritime Attachment and Garnishment be attached and seized

pursuant to Rule B of the Supplemental Rules;

       D.         That judgment be entered in favor of Plaintiff and against the Defendant M/V

NOMADIC MILDE, her engines, freights, apparel, appurtenances, tackle etc. in rem, for the

amount pled herein as well as for interest, costs, attorney fees, and disbursements for this action;

       E.         That judgment be entered against Defendants in the sum of $921,200.00, inclusive

of applicable interest, costs, and fees pled herein;

       F.         That the Court grant Plaintiff such other and further relief as may be just,

equitable, and proper.




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Dated: August 11, 2020                   Respectfully submitted,


                                         CHALOS & CO, P.C.


                                  By:    /s/ Michelle Otero Valdes________
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